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IN THE UNITED sTATES DISTRICT COURT ` 9 ,a 1
FOR THE WESTERN DISTRICT oF TENNESSEE“'// ,\ XY€.
EASTERN DIVISION 11;- 515 @//,_ 0
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/]VL,J'OO/S/*{/;
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UNITED sTATES OF AMERICA i“§i/»"t/ `
vs CR NO. 1;05-10034-01_T
LEAMON LOUIS MATLOCK
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on June 8, 2005, Assistant U. S. Attorney,
Victor Lee Ivy, appearing for the government, and the defendant appeared in person and with
eounsel, Lloyd R. Tatum, Who Was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts ], 2 and 3 of the Indictment.

This case has been set for sentencing on Thursdz_lL Sentember 8. 2005 at 8:30

The defendant is remanded to the custody of the United States Marshal.

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ES D. TODD
ITED STATES DISTRICT JUDGE

DATE; 9 9/5“’% ;My

IT IS SO ORDERED.

Thts document entered on the docket sheet ln compliance
with ama ss and/or az{b) Fnch en iO

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DISTRIC COURT -WE TER D"'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 1:05-CR-10034 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

